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                                                              U.S. Department of Justice
                                                              Civil Division




                                                                     April 3, 2025

  By ECF
  Honorable Michael E. Farbiarz
  United States District Judge
  U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07101

          Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
                  Government’s Response to Court’s Order (ECF No. 159)

  Dear Judge Farbiarz:

          Respondents (“the Government”) submit this letter in response to this Court’s order (ECF
  No. 159). Interlocutory review under § 1292(b) is appropriate if there is (1) a controlling question of
  law, (2) about which there is substantial ground for difference of opinion, the immediate resolution
  of which by the appeals court will (3) materially advance the ultimate termination of the litigation.
  Those preconditions are satisfied here. And for that reason, the Government believes that the Court
  should certify the question of whether a district court has habeas jurisdiction over a habeas petition
  improperly filed in a separate district, where the petitioner has since been transferred to a third.

  The Court’s Opinion Involves a Controlling Question of Law.

           Here, the issue of habeas jurisdiction controls the rest of this litigation. Before this Court now
  are Khalil’s applications for (i) bail-pending habeas; (ii) habeas relief; and (iii) a preliminary injunction
  (covering much of the same core relief). The first two matters obviously depend on this Court’s habeas
  ruling; and the third rests on the same foundation, because (at most) this Court’s power to review the
  amended petition and issue interim relief is derivative from its habeas jurisdiction. If this Court lacks
  habeas jurisdiction, then the jurisdictional foundation for any subsequent decision would be lacking.
  And any decision regarding any of those matters would be null-in-void. See Guzman v. Moshannon Valley
  Processing Ctr., Civ. Act. No. 24-1054 (JKS), 2024 WL 1251170, at *1 (D.N.J. Mar. 22, 2024) (“District
  courts are limited to granting habeas relief within their respective jurisdictions, so that the court issuing
  the writ has jurisdiction over the custodian.”); Augustin v. City of Philadelphia, No. 14-CV-4238, 2016
  WL 7042215, at *1 n.1 (E.D. Pa. Apr. 8, 2016) (noting a “controlling question of law must encompass
  at the very least every order which, if erroneous, would be reservable error on final appeal”); Knopck
  v. Downey, 963 F. Supp. 2d 378, 398 (M.D. Pa. 2013) (same); Cadillo v. Stoneleigh Recovery Assocs., LLC,
  No. CV177472SDWSCM, 2018 WL 702890, at *1 (D.N.J. Feb. 2, 2018) (same).
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  The Court’s Ruling Presents a Substantial Ground for a Difference of Opinion.

          The Court relied on 28 U.S.C. § 1631 to determine that it could exercise jurisdiction over the
  named respondents in the petition. See Opin. at 25-36. But respectfully, there is ample room to disagree
  with that decision.

           For one, while § 1631 is intended to “cure” defects in “jurisdiction,” it does not independently
  vest federal district courts with any new authority. Nor do its general terms allow courts to sidestep
  the specific requirements for issuing habeas relief included within § 2241. While § 1631 states that an
  action “shall proceed” as if filed originally in the transferee district, that phrase is best read in a more
  technical light (e.g., compliance with local rules and procedures). See Griffin v. United States, 621 F.3d
  1363, 1365 (Fed. Cir. 2010) (“The purpose of § 1631 is ‘to cure want of jurisdiction’ and allow unwary
  litigants who file in the wrong courts to avoid technical obstacles, such as statutes of limitations.”)
  (emphasis added). It does not charge district courts with conducting an entire case on a fiction, nor
  avoiding otherwise binding jurisdictional limits.

          For another, this Court’s § 1631 interpretation is strained on its own terms. Habeas actions
  are “unique,” meaning the civil-action label “is gross and inexact.” Harris v. Nelson, 394 U.S. 286, 291,
  293-94 (1969). Habeas actions are “not automatically subject to all the rules governing ordinary civil
  actions.” Schlanger v. Seamans, 401 U.S. 487, 490 n.4 (1971). And as the Third Circuit has held in
  analogous contexts, the term “civil action” does not always include habeas petitions, such as when it
  comes to the Prison Litigation Reform Act (“PLRA”) or the Equal Access to Justice Act (“EAJA”).
  See Santana v. United States, 98 F.3d 752, 754-55 (3d Cir. 1996) (PLRA); Daley v. Fed. Bureau of Prisons,
  199 F. App’x 119, 121 (3d Cir. 2006) (EAJA).

  Resolution on Habeas Jurisdiction would Materially Advance the Ultimate Termination of the
  Litigation

           The Third Circuit’s resolution of this question would undeniably and materially advance the
  ultimate termination of the litigation. Reversal would terminate this case, and that is dispositive. See
  Johnson v. Nat’l Collegiate Athletic Ass’n, 108 F.4th 163, 183 (3d Cir. 2024) (Porter, J., concurring); contra
  L.R. v. Manheim Tp. School Dist., 540 F. Supp. 2d 603, 613 (E.D. Pa. 2008) (“Here, a successful
  interlocutory appeal by Plaintiff would result in neither the termination nor the narrowing of this
  litigation.”).

                                               *        *       *

           Finally, there is no doubt that the question here is deeply important, and likely to recur. Indeed,
  this issue is being litigated in similar cases currently taking place within the First, Second, Third, and
  Fourth Circuits, at least. And there is every reason to think it may come before this District again.
  Both judicial economy and the uniform application of immigration law would thus materially benefit
  from a prompt decision from the Third Circuit on where these sorts of suits should be litigated.




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                                    Respectfully submitted,

                                    YAAKOV M. ROTH
                                    Acting Assistant Attorney General
                                    Civil Division

                                    DREW C. ENSIGN
                                    Deputy Assistant Attorney General

                                    AUGUST E. FLENTJE
                                    Acting Director

                                    SARAH S. WILSON
                                    Assistant Director

                                    s/ Dhruman Y. Sampat
                                    DHRUMAN Y. SAMPAT
                                    Senior Litigation Counsel
                                    Office of Immigration Litigation
                                    General Litigation and Appeals Section
                                    PO Box 878, Ben Franklin Station
                                    Washington, D.C. 20044
                                    dhruman.y.sampat@usdoj.gov




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